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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

             CAPTAIN JACK’S CRAB SHACK,                      :
             INC., d/b/a Captain Jack’s Shack;               :
             RONNIE BARTLETT; and LEE                        :
             BARTLETT,                                       :
                                                             :
                       Plaintiffs,                           :
                                                             :    CIVIL ACTION NO.
                       v.                                    :    1:16-CV-2887-SCJ
                                                             :
             K. DAVID COOKE, JR., in his                     :
             individual capacity; MICHAEL G.                 :
             LAMBROS, in his individual                      :
             capacity; MELANIE BICKFORD, in                  :
             her individual capacity; and                    :
             CHRISTINE WELCH, in her                         :
             individual capacity,                            :
                                                             :
                       Defendants.                           :

                                                         ORDER

                       This matter appears before the Court on a variety of motions by Defendants,

             all seeking a stay of discovery and judgment on (or dismissal of) the claims against

             them. Docs. No. [105], [106], [125], [127], [131], [132], [134], [135], [137]. On April 17,

             2017, the Court entered a Stay in this case, pursuant to the Younger1 abstention

             doctrine, until the criminal proceedings against Plaintiffs Ronnie and Lee Bartlett

             were resolved. Doc. No. [82]. In November 2017, the Court lifted the stay and held a



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                       Younger v. Harris, 401 U.S. 37, 91 S. Ct. 746, 27 L. Ed.2d 669 (1971).




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             hearing to determine the continued propriety of the stay. See Docs. No. [96], [108].

             Since that time, Mr. Bartlett has been convicted by a jury on some counts and

             acquitted on others. Doc. No. [124-1]. The trial of Ms. Bartlett was severed, but

             Defendants aver that it “will proceed as expeditiously as practicable.” Doc. No. [124],

             p. 2.

                           Defendants argue that “Plaintiffs’ claims . . . are plainly barred by Heck[2]

             because Ronnie Bartlett was convicted of illegal gambling and his conviction has not

             been over turned.” See, e.g., Doc. No. [131-1], pp. 6–7. Were this case brought by

             Mr. Bartlett alone, the Court would have little doubt as to the applicability of Heck,

             at least as to some of his claims.3 His arguments that the State trial court committed

             “countless” errors and that the prosecution committed “misconduct” are not properly



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                           Heck v. Humphrey, 512 U.S. 477, 486–87, 114 S. Ct. 2364, 2372, 129 L. Ed. 2d 383
             (1994).

                      To be sure, Heck does not insulate state officials from any and all liability. An officer
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             may not, for example, use excessive force in effecting an otherwise valid arrest. Dyer v. Lee,
             488 F.3d 876, 879–84 (11th Cir. 2007). This case presents a more complicated situation.
             Plaintiffs argue that Defendants “fabricated inculpatory evidence”; conducted searches
             pursuant to warrants “issued based on [the] fabrications, material misrepresentation, and
             material omissions”; brought the “state criminal proceedings . . . to retaliate for the Bartletts’
             exercising their constitutionally protected right[s]”; etc. Doc. No. [97], pp. 18–23. Success on
             these claims may be “logically contradictory” to the underlying conviction, which was
             necessarily based on a finding that the State had valid evidence that Mr. Bartlett committed
             illegal commercial gambling. For the reason discussed below, the Court cannot resolve the
             issue at this time.

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             made to this Court. See, e.g., Doc. No. [136], pp. 6–7; Doc. No. [138], pp. 9–10. The

             Court understands that Mr. Bartlett makes these arguments to show the strength of

             his appeal, but that is not the test for deciding whether Heck applies. To avoid the

             application of Heck, Mr. Bartlett “must prove that [his] conviction or sentence has

             been reversed on direct appeal, expunged by executive order, declared invalid by a

             state tribunal authorized to make such determination, or called into question by a

             federal court’s issuance of a writ of habeas corpus,” not that it might be. 512 U.S. at

             486–87 (emphasis added).

                   But Defendants cite no authority suggesting that the conviction of Mr. Bartlett

             bars Ms. Bartlett from bringing the claims in this action. The fact that Mr. Bartlett was

             found guilty of certain offenses does not necessarily mean that Defendants had any

             basis for arresting Ms. Bartlett. This awkward procedural posture is complicated

             further by the third Plaintiff, Captain Jack’s Crab Shack, Inc., and the fact that

             Defendants played a variety of different roles—from investigation to prosecution.

             Allowing this case to proceed beyond its current “embryonic stage” while the

             criminal prosecution of Ms. Bartlett is still pending would have untoward

             implications on the applicability of the Younger abstention doctrine. See Doran v.

             Salem Inn, Inc., 422 U.S. 922, 929, 95 S. Ct. 2561, 2566, 45 L. Ed. 2d 648 (1975); see also



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             Hicks v. Miranda, 422 U.S. 332, 349, 95 S. Ct. 2281, 2292, 45 L. Ed. 2d 223 (1975).

             Furthermore, because a stay of this matter will not unduly prejudice the parties and

             will simplify the issues in this case, the Court determines that a stay, without

             resolving the hotly disputed motions, is appropriate. See Tomco Equip. Co. v. Se.

             Agri-Sys., Inc., 542 F. Supp. 2d 1303, 1307 (N.D. Ga. 2008).

                   However, the Court is fully cognizant that in exercising “its discretion to stay

             a case pending the resolution of related proceedings in another forum, the [Court]

             must limit properly the scope of the stay” so that the stay is not “immoderate.”

             Ortega Trujillo v. Conover & Co. Commc’ns, 221 F.3d 1262, 1264 (11th Cir. 2000). This

             case has already been pending for quite some time and the stay being issued today

             is not license to delay matters further. The stay is issued with the understanding that

             the trial of Ms. Bartlett “will proceed as expeditiously as practicable.” See Doc.

             No. [124], p. 2. If, at the end of the stay, it appears that any of the parties delayed the

             criminal proceedings to gain tactical advantage in this case, the Court will consider

             the imposition of sanctions.

                   This case is hereby STAYED for 120 days from the date of this Order. For the

             reasons discussed above, Defendants’ Motions (Docs. No. [105], [106], [125], [127],

             [131], [132], [134], [135], [137]) are DENIED as moot. Because of the unusual


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             procedural posture of this case, the parties dispute the timeliness of Defendants’

             motions and the timing of discovery. The Court, thus, provides this additional

             clarification. Defendants have leave of Court to file motions to dismiss or for

             judgment on the pleadings within 7 days of the conclusion of the stay. Discovery will

             not commence until the Court has ruled on such motions, if any are filed. See Howe

             v. City of Enter., 861 F.3d 1300, 1302 (11th Cir. 2017) (noting that it is reversible error

             for a district court to order discovery without first ruling on immunity defenses

             because “immunity is a right not to be subjected to litigation beyond the point at

             which immunity is asserted”).

                   IT IS SO ORDERED, this 5th day of April, 2018.


                                               s/Steve C. Jones
                                               HONORABLE STEVE C. JONES
                                               UNITED STATES DISTRICT JUDGE




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